      Case 6:18-cv-00096-RSB-BWC Document 73 Filed 08/20/21 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             STATESBORO DIVISION


 QUONTERIOUS TOLES,

               Plaintiff,                                CIVIL ACTION NO.: 6:18-cv-96

        v.

 LT. RONNIE SHUEMAKE; SGT. FREDDY
 DAVIS; and SERGEANT MICHAEL
 MENDEZ,

               Defendants.


                                          ORDER

       After an independent and de novo review of the entire record, the undersigned concurs with

the Magistrate Judge’s Report and Recommendation. (Doc. 72.) Plaintiff did not file Objections

to the Report and Recommendation.

       Accordingly, the Court ADOPTS the Magistrate Judge’s Report and Recommendation as

the opinion of the Court, GRANTS Defendants’ Motion for Summary Judgment, (doc. 64), and

DIRECTS the Clerk of Court to enter the appropriate judgment in favor of all Defendants on

Plaintiff’s injunctive relief claim, Defendant Davis on all claims, and Defendant Shuemake on

Plaintiff’s deliberate indifference claim. Plaintiff’s excessive force claims against Defendants

Shuemake and Mendez remain pending.

       SO ORDERED, this 20th day of August, 2021.




                                     R. STAN BAKER
                                     UNITED STATES DISTRICT JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
